                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF IOWA
                          CEDAR RAPIDS DIVISION

  TONYAMARIE ADAMS individually                             No. 21-cv-53-MAR
  and on behalf of AH,
                 Plaintiff,
  vs.                                             ORDER GRANTING MOTION TO
                                                    FILE OVERLENGTH BRIEF
  CITY OF CEDAR RAPIDS and
  NATHAN TRIMBLE,
                 Defendants.
                                 ____________________

        Before the Court is Defendants’ Unresisted Motion to File Overlength Brief in
Support of Motion for Summary Judgment, filed on June 29, 2022.                  (Doc. 29.)
Defendants have filed the proposed brief in support of their motion for summary
judgment. (Doc. 28-2.) The motion states that counsel for Plaintiff does not object to
the motion.
        Local Rule 7(h) governs the lengths of briefs and states, “A party may request
leave to file a brief longer than the length prescribed in the Local Rules by filing a motion
containing a statement demonstrating good cause for the proposed length. The brief must
be electronically attached to the motion and filed under the same docket entry, and if the
motion is granted, the Clerk of Court will detach and docket the brief.”
        IT IS ORDERED for good cause and the reasons stated in the motion, the motion
for leave to file overlength brief is granted. The overlength brief as filed at Doc. 28 is
deemed properly filed.
        IT IS SO ORDERED this 1st day of July, 2022.




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